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              IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF COLUMBIA

JABARI STAFFORD                              :
                       PLAINTIFF             :      CASE NO:
       v.                                    :      18-CV-2789-(CRC)
                                             :
THE GEORGE WASHINGTON                        :
UNIVERSITY, ET AL.                           :
                       DEFENDANTS            :



                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on or about the date stated below, the
foregoing Motion for Leave to Amend with Response to Dismissal Motion and
supporting documents were filed and duly served upon all necessary persons through the
Court’s Electronic Filing System and/or First Class Mail, as follows:

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                                             Respectfully submitted,

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Date: March 18, 2019
